          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                          CIVIL NO. 1:06CV373
                             (1:02CR105-4)


MICHAEL ANTHONY JENKINS,                 )
                                         )
                       Petitioner,       )
                                         )
                 Vs.                     )           ORDER
                                         )
UNITED STATES OF AMERICA,                )
                                         )
                       Respondent.       )
                                         )


     THIS MATTER is before the Court on Petitioner's motion pursuant to

28 U.S.C. § 2255 to vacate, set aside, or correct his sentence, filed

November 17, 2006.

     Contained within his petition is a challenge to his conviction based on

a “cause and prejudice analysis.” Generally, that type of challenge is

brought pursuant to 28 U.S.C. § 2254 involving a state court conviction.

Therefore, out of an abundance of caution, the Court will comply with the

dictates of United States v. Emmanuel, 288 F.3d 644 (4th Cir. 2002), and

advise the Petitioner that the Court intends to construe his motion as one

filed pursuant to 28 U.S.C. § 2255, to vacate, set aside or correct


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sentence. As such, the Petitioner will be given an opportunity to agree or

disagree with this modification.

      If the Petitioner timely responds to this Order and does not agree to

have the motion recharacterized as one under § 2255, the Court will rule

on the merits of the motion as filed. However, if the Petitioner fails to

respond to this Order or agrees to have the motion recharacterized as one

under § 2255, the Court will consider the motion pursuant to § 2255 and

shall consider it filed as of the date the original motion was filed.

      Before agreeing to the recharacterization of the motion, the Petitioner

is advised that if the Court construes the instant motion as one under §

2255, it will constitute a first petition under § 2255 and the Petitioner must

receive certification from the United States Court of Appeals for the Fourth

Circuit before he can file a second or successive petition in the district

court. Additionally, the law imposes a one year statute of limitations on the

right to bring a motion pursuant to § 2255. This one year period begins to

run at the latest of:

      1.    the date on which the judgment of conviction became
            final; in this case the date is March 19, 2006;

      2.    if the Petitioner was prevented from making a motion
            under § 2255 by governmental action in violation of the
            Constitution or laws of the United States, the date on


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            which the impediment created by such governmental
            action is removed;

      3.    the date on which the right asserted was initially
            recognized by the Supreme Court, if such right has been
            newly recognized by the Supreme Court AND made
            retroactively applicable to cases on collateral review; or

      4.    the date on which the facts supporting the claim or claims
            presented could have been discovered through the
            exercise of due diligence.

      IT IS, THEREFORE, ORDERED that the Petitioner file response on

or before 30 days from service of the Order. In the response, the

Petitioner shall advise the Court whether or not he agrees with the

recharacterization of the motion herein. If the Petitioner does not agree to

the modification, the Court will rule on the merits of the pending motion. If

the Petitioner agrees to the modification, he may file amendments to the

original motion to include any grounds not alleged in the original filing

along with his response to the Court's Order. If the Petitioner files such

amendments, he must do so within the 30-day period stated above.

      The Petitioner is advised that if he does not timely respond to this

Order, the Court will proceed with its recharacterization of the motion

herein.




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                                Signed: November 27, 2006




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